Case 2:07-cr-20076-RHC-RSW ECF No. 175, PageID.428 Filed 10/17/07 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                    Case No. 07-CR-20076-3

JERRY McADOO,

             Defendant.
                                                /

  ORDER DENYING DEFENDANT’S “MOTION TO CHALLENGE DISPARITY IN
PENALTIES BETWEEN COCAINE BASE AND COCAINE POWDER” AND DENYING
    THE JOINDER OF CO-DEFENDANTS JOHNSON, SENIOR AND JONES

      Defendant Jerry McAdoo filed the above-captioned “motion” on October 10,

2007. Co-Defendant Jerry Gunter filed the same motion on October 3, 2007, which the

court denied in a recent order. (10/15/07 Order.) McAdoo’s motion, while somewhat

more developed in its legal argument and citation to authority, must fail for the reasons

stated in the court’s October 15, 2007 opinion and order. The court has also received

notices of joinder from Co-Defendants Anthony Johnson, Virgil Senior and Tierra Jones.

(See Dkt. ## 171-73.) These notices offer no additional argument that would alter the

court’s analysis. Accordingly,

      IT IS ORDERED that Defendant McAdoo’s “Motion to Challenge Disparity in

Penalties Between Cocaine Base and Cocaine Powder” [Dkt. # 169] is DENIED.
Case 2:07-cr-20076-RHC-RSW ECF No. 175, PageID.429 Filed 10/17/07 Page 2 of 2




          IT IS FURTHER ORDERED that the Notices of Joinder [Dkt. ## 171-73] are

DENIED.


                                                                 S/Robert H. Cleland
                                                                ROBERT H. CLELAND
                                                                UNITED STATES DISTRICT JUDGE
Dated: October 17, 2007

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 17, 2007, by electronic and/or ordinary mail.

                                                                 S/Lisa Wagner
                                                                Case Manager and Deputy Clerk
                                                                (313) 234-5522




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